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10
                                    UNITED STATES DISTRICT COURT
11
                                   EASTERN DISTRICT OF CALIFORNIA
12
                                        SACRAMENTO DIVISION
13

14
     RALPH COLEMAN, et al.,                             Case No. 2:90-CV-00520- KJM-DB
15
                     Plaintiffs,                        DEFENDANTS’ OBJECTIONS TO
16                                                      EVIDENCE FILED IN SUPPORT OF
              v.                                        PLAINTIFFS’ CLOSING BRIEF RE
17                                                      APPOINTMENT OF RECEIVER
     GAVIN NEWSOM, et al.
18                                                      [ECF Nos. 8518, 8518-1]
                     Defendants.
19                                                      Judge:    Hon. Kimberly J. Mueller

20

21

22            Defendants hereby submit the following objections to the evidence filed in support of

23 Plaintiffs’ Closing Brief Re Appointment of Receiver. ECF Nos. 8518, 8518-1.1 By submitting

24 these objections, Defendants do not waive or forfeit their repeated requests for an evidentiary

25 hearing to provide a complete record on the question of the appointment of a receiver, and to test

26 the veracity and persuasiveness of the evidence presented.
27
   1
     Citations to page numbers in documents filed in the Court’s Electronic Case Filing (ECF) system
28 are to pages assigned by ECF and located in the upper right hand corner of the pages.

     21454559.1                                1                Case No. 2:90-CV-00520- KJM-DB
              DEFENDANTS’ RESPONSE CONCERNING APPOINTMENT OF A TEMPORARY RECEIVER
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 1    No.     Material Objected to            Grounds for Objection            Ruling
 2    1.      Declaration of Lisa Ells,       FED. R. EVID. 401,               □ Sustained
              Exhibit B, Bureau of Justice    Relevance.
 3            Statistics. ECF No. 8518-1 at                                    □ Overruled
              9-44.                           Plaintiffs rely on this
 4                                            document to say that             Judge’s Initials:_______
                                              CDCR’s suicide rate is
 5                                            nearly double the average
                                              suicide rate in the Federal
 6                                            prison system between 2015
                                              and 2019. ECF No. 8518 at
 7                                            8:18. But they do not explain
                                              why the 2015-2019 period is
 8                                            relevant to CDCR’s current
                                              suicide rate and only explain
 9                                            that those years are the most
                                              recent years for which data is
10                                            available. Indeed, a
                                              comparison of statistics from
11                                            the period 2015-2019 is
                                              irrelevant to the issue of
12                                            whether a receiver should be
                                              appointed in 2025.
13
      2.      Declaration of Lisa Ells,       FED. R. EVID. 403.               □ Sustained
14            Exhibit B, Bureau of Justice
              Statistics. ECF No. 8518-1 at   Plaintiffs rely on this        □ Overruled
15            9-44.                           document to say that
                                              CDCR’s suicide rate is         Judge’s Initials:_______
16                                            nearly double the average
                                              suicide rate in the Federal
17                                            prison system between 2015
                                              and 2019. ECF No. 8518 at
18                                            8:18. This is more prejudicial
                                              than probative because there
19                                            is no showing that the prison
                                              systems or their incarcerated
20                                            populations are comparable.
                                              And, as explained above,
21                                            there is no explanation for
                                              why the 2015-2019 period is
22                                            the relevant to the issue
                                              currently before the Court.
23                                            Indeed, individuals who are
                                              incarcerated for violent
24                                            offenses are at increased risk
                                              for completed suicide, and
25                                            California has the highest
                                              rate of individuals
26                                            incarcerated for a violent
                                              offense across all other
27                                            states. ECF No. 8180-3 at ¶
                                              19.
28

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 1    No.     Material Objected to            Grounds for Objection           Ruling
 2    3.      Declaration of Lisa Ells,       FED. R. EVID. 401,              □ Sustained
              Exhibit C, Copy of              Relevance.
 3            Legislative Analyst’s Office                                    □ Overruled
              Report. ECF No. 8518-1 at 46-   Plaintiffs do not cite to
 4            49.                             Exhibit C anywhere in their     Judge’s Initials:_______
                                              Closing Brief (ECF No.
 5                                            8518, passim) making this
                                              document irrelevant. It is
 6                                            also irrelevant because it
                                              only refers to a population
 7                                            increase generally and not an
                                              increase in the population of
 8                                            Coleman class members.
 9    4.      Declaration of Lisa Ells,       FED. R. EVID. 403.              □ Sustained
              Exhibit C, Copy of
10            Legislative Analyst’s Office    The report says that if         □ Overruled
              Report. ECF No. 8518-1 at 46-   California Proposition 36
11            49.                             passes, the prison population   Judge’s Initials:_______
                                              could increase “by around a
12                                            few thousand people.” ECF
                                              No. 8518-1 at 47. But there
13                                            is no explanation of what a
                                              “few thousand people”
14                                            means, rendering the
                                              statement ambiguous and
15                                            more prejudicial than
                                              probative. There is also no
16                                            showing that individuals sent
                                              to prison for committing a
17                                            Proposition 36 covered
                                              crime, such as petty theft,
18                                            property damage, or selling
                                              drugs, would necessarily
19                                            become Coleman class
                                              members if sent to CDCR.
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     21454559.1                                3                Case No. 2:90-CV-00520- KJM-DB
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 1    No.     Material Objected to              Grounds for Objection             Ruling
 2    5.      Declaration of Lisa Ells,         FED. R. EVID. 602, Lacks          □ Sustained
              Exhibit C, Copy of                foundation and calls for
 3            Legislative Analyst’s Office      speculation.                      □ Overruled
              Report. ECF No. 8518-1 at 46-
 4            49.                               The report says that if           Judge’s Initials:_______
                                                California Proposition 36
 5                                              passes, the prison population
                                                could increase “by around a
 6                                              few thousand people.” ECF
                                                No. 8518-1 at 47. But there
 7                                              is no explanation of what a
                                                “few thousand people”
 8                                              means or where that figure
                                                came from. There is also no
 9                                              showing that individuals sent
                                                to prison for committing a
10                                              Proposition 36 covered
                                                crime, such as petty theft,
11                                              property damage, or selling
                                                drugs, would necessarily
12                                              become Coleman class
                                                members if sent to CDCR.
13
      6.      Declaration of Lisa Ells,         FED. R. EVID. 802, Hearsay.       □ Sustained
14            Exhibit D, Prison Policy
              Initiative Article. ECF No.       Plaintiffs rely on a hearsay      □ Overruled
15            8518-1 at 51-54.                  article for the truth of the
                                                matter asserted, namely that      Judge’s Initials:_______
16                                              “the recent passage of
                                                Proposition 36 will almost
17                                              certainly exacerbate the
                                                problem: Proposition 36’s
18                                              increase in criminal
                                                sentences is projected to
19                                              increase California’s prison
                                                population by 35 percent in
20                                              the next five years.” ECF
                                                No. 8518 at 12:24-26.
21
                                                The article also relies on an
22                                              cost estimation tool derived
                                                from Californians for Safety
23                                              and Justice, thereby
                                                constituting a further level of
24                                              hearsay—i.e. hearsay within
                                                hearsay.
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 1    No.     Material Objected to              Grounds for Objection            Ruling
 2    7.      Declaration of Lisa Ells,         FED. R. EVID. 403.               □ Sustained
              Exhibit D, Prison Policy
 3            Initiative Article. ECF No.       Plaintiffs rely on the article □ Overruled
              8518-1 at 51-54.                  to argue that “Proposition
 4                                              36’s increase in criminal      Judge’s Initials:_______
                                                sentences is projected to
 5                                              increase California’s prison
                                                population by 35 percent in
 6                                              the next five years.” ECF
                                                No. 8518 at 12:24-26.
 7                                              However, the article’s
                                                assertion is more prejudicial
 8                                              than probative because there
                                                is no showing that the
 9                                              speculative prison population
                                                increase would include any
10                                              Coleman class members.
11    8.      Declaration of Lisa Ells,         FED. R. EVID. 602, Lacks         □ Sustained
              Exhibit D, Prison Policy          foundation and calls for
12            Initiative Article. ECF No.       speculation.                     □ Overruled
              8518-1 at 51-54.
13                                              Plaintiffs rely on the article   Judge’s Initials:_______
                                                to argue that “Proposition
14                                              36’s increase in criminal
                                                sentences is projected to
15                                              increase California’s prison
                                                population by 35 percent in
16                                              the next five years.” ECF
                                                No. 8518 at 12:24-26.
17                                              Although the article reaches
                                                that same conclusion the
18                                              article lacks foundation or
                                                personal knowledge
19                                              sufficient to reach this
                                                conclusion by providing only
20                                              general citations to a third
                                                party’s “cost tool.”
21                                              Additionally, there is no
                                                showing that the alleged
22                                              prison population increase
                                                would include any Coleman
23                                              class members.
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 1    No.     Material Objected to             Grounds for Objection           Ruling
 2    9.      Declaration of Lisa Ells,        FED. R. EVID. 802, Hearsay.     □ Sustained
              Exhibit E, Cal Matters
 3            Article. ECF No. 8518-1 at       Plaintiffs rely on a hearsay    □ Overruled
              56-65.                           article for the truth of the
 4                                             matter asserted, namely that    Judge’s Initials:_______
                                               “With the passage of
 5                                             Proposition 36 and the
                                               election of tough-on-crime
 6                                             District Attorneys in various
                                               parts of California,
 7                                             population pressures will
                                               only get worse over the next
 8                                             few years, exacerbating the
                                               already existing
 9                                             overcrowding and
                                               understaffing plaguing
10                                             CDCR institutions.” ECF
                                               No. 8518 at 19:5-8.
11
      10.     Declaration of Lisa Ells,        FED. R. EVID. 403.              □ Sustained
12            Exhibit E, Cal Matters
              Article. ECF No. 8518-1 at       Plaintiffs rely on the article □ Overruled
13            56-65.                           to argue that “With the
                                               passage of Proposition 36      Judge’s Initials:_______
14                                             and the election of tough-on-
                                               crime District Attorneys in
15                                             various parts of California,
                                               population pressures will
16                                             only get worse over the next
                                               few years, exacerbating the
17                                             already existing
                                               overcrowding and
18                                             understaffing plaguing
                                               CDCR institutions.” ECF
19                                             No. 8518 at 19:5-8.
                                               However, the article’s
20                                             assertion is more prejudicial
                                               than probative because there
21                                             is no showing that the
                                               speculative prison population
22                                             increase would include any
                                               Coleman class members.
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 1    No.     Material Objected to             Grounds for Objection            Ruling
 2    11.     Declaration of Lisa Ells,        FED. R. EVID. 602, Lacks         □ Sustained
              Exhibit E, Cal Matters           foundation and calls for
 3            Article. ECF No. 8518-1 at       speculation.                     □ Overruled
              56-65.
 4                                             Plaintiffs rely on the article   Judge’s Initials:_______
                                               to argue that “With the
 5                                             passage of Proposition 36
                                               and the election of tough-on-
 6                                             crime District Attorneys in
                                               various parts of California,
 7                                             population pressures will
                                               only get worse over the next
 8                                             few years, exacerbating the
                                               already existing
 9                                             overcrowding and
                                               understaffing plaguing
10                                             CDCR institutions.” ECF
                                               No. 8518 at 19:5-8.
11                                             However, the article does not
                                               lay a foundation for that
12                                             assertion, having only
                                               discussed the election of two
13                                             supposedly tough-on-crime
                                               district attorneys.
14                                             Additionally, there is no
                                               showing that the alleged
15                                             prison population increase
                                               would have a significant
16                                             impact on the Coleman class.
17    12.     Declaration of Lisa Ells,        Fact not in evidence.            □ Sustained
              Exhibit E, Cal Matters
18            Article. ECF No. 8518-1 at       Plaintiffs use the article to    □ Overruled
              56-65.                           support the overbroad
19                                             statement that due to the        Judge’s Initials:_______
                                               election of “tough-on-crime
20                                             District Attorneys in various
                                               parts of California . . .
21                                             population pressures will
                                               only get worse.” ECF No.
22                                             8518 at 19:5-8. But the
                                               article does not talk about
23                                             “various parts of California,”
                                               it only talks about two
24                                             district attorney races
                                               affecting Alameda and Los
25                                             Angeles Counties.
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 1    No.     Material Objected to           Grounds for Objection           Ruling
 2    13.     Declaration of Lisa Ells,      Fact not in evidence.           □ Sustained
              Exhibit F, Email
 3            correspondence between         Plaintiffs rely on the email    □ Overruled
              attorneys. ECF No. 8518-1 at   exchange to argue that
 4            67-72.                         “Defendants chose to halt       Judge’s Initials:_______
                                             some of the most critical
 5                                           initiatives, such as
                                             recruitment and retention
 6                                           bonuses and increased
                                             compensation, in the wake of
 7                                           their successful motion to
                                             stay the contempt fines order
 8                                           pending appeal.” ECF No.
                                             8518 at 19:26-28. But all the
 9                                           evidence shows is that
                                             Defendants sought a stay
10                                           from the Ninth Circuit,
                                             which was their right to do, it
11                                           was granted, and they acted
                                             in accordance with the stay
12                                           and state law, which does not
                                             permit Defendants to spend
13                                           state funds absent a valid and
                                             enforceable Court order.
14
      14.     Plaintiffs’ Closing Brief,    FED. R. EVID. 802, Hearsay.      □ Sustained
15            Citation to Second Golding
              Report. ECF No. 8518 at 17:7- Plaintiffs rely on Dr.           □ Overruled
16            11.                           Golding’s hearsay statement
                                            for the truth of the matter      Judge’s Initials:_______
17                                          asserted, namely that
                                            “CDCR’s then-Secretary and
18                                          current Deputy Director for
                                            Mental Health were
19                                          expressly encouraging
                                            agency staff to resist
20                                          cooperation with the Special
                                            Master and prioritizing an
21                                          ‘information war’ with the
                                            Court rather than complying
22                                          with its remedial orders.”
                                            ECF No. 8518 at 17:7-11.
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 5                                              Supervising Deputy Attorney General
                                                ELISE OWENS THORN
 6                                              Deputy Attorney General
                                                Attorneys for Defendants
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 8 DATED: January 17, 2025                      HANSON BRIDGETT LLP
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12                                              SAMANTHA D. WOLFF
                                                DAVID C. CASARRUBIAS-GONZÁLEZ
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